              Case 3:20-cr-00450-EMC Document 119 Filed 09/23/22 Page 1 of 20




 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 DANIEL PASTOR (CABN 297948)
   Assistant United States Attorney
 5
          450 Golden Gate Avenue, Box 36055
 6        San Francisco, California 94102-3495
          Telephone: (415) 436-7200
 7        FAX: (415) 436-7234
          daniel.pastor@usdoj.gov
 8

 9 Attorneys for United States of America

10                                      UNITED STATES DISTRICT COURT

11                                    NORTHERN DISTRICT OF CALIFORNIA

12                                           SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                       )   Nos. CR 20-450-EMC
14                                                   )
              Plaintiff,                             )   GOVERNMENT OPPOSITION TO
15                                                   )   DEFENDANT CID’S MOTION TO SUPPRESS
         v.                                          )   EVIDENCE DERIVED FROM WIRETAPS AND
16                                                   )   MOTION FOR FRANKS HEARING
     JUVENCIO GAMEZ CID,                             )
17                                                   )
              Defendant.                             )
18                                                   )
                                                     )
19
     UNITED STATES OF AMERICA,                       )   No. CR 20-451-EMC
20                                                   )
              Plaintiff,                             )
21                                                   )   Hearing Date: October 27, 2022
         v.                                          )   Time: 10:00 a.m.
22                                                   )   Ctrm: 17th Floor, Ctrm. 5
     JUVENCIO GAMEZ CID,                             )
23                                                   )
              Defendant.                             )
24                                                   )
                                                     )
25

26

27

28

     GOV. OPP. to MTS WIRETAP EVIDENCE               I
     U.S. v. Juvencio Cid, CR 20-450 and CR 20-451
                Case 3:20-cr-00450-EMC Document 119 Filed 09/23/22 Page 2 of 20




 1                                                    TABLE OF AUTHORITIES

 2

 3
                                                                 Federal Cases
 4
      Franks v. Delaware, 438 U.S. 154 (1978) ............................................................................................... 15
 5
      United States v. Baker, 589 F2d 1008 (9th Cir. 1979) ............................................................................... 4
 6
      United States v. Bennett, 219 F.3d 1117 (9th Cir. 2000) ..................................................................... 4, 15
 7
      United States v. Blackmon, 273 F.3d 1204 (9th Cir. 2001) ....................................................................... 3
 8
      United States v. Canales Gomez, 358 F.3d 1221–27 (9th Cir. 2004) ................................................ 15, 17
 9
      United States v. Carneiro, 861 F.2d 1171 (9th Cir. 1988) ......................................................................... 3
10 United States v. Chavez-Miranda, 306 F.3d 973 (9th Cir. 2002) ............................................................ 16

11 United States v. DiCesare, 765 F.2d 890 (9th Cir.), amended, 777 F.2d 543 (9th Cir. 1985) ................ 16

12 United States v. Fernandez, 388 F.3d 1199 (9th Cir. 2004) ..................................................................... 12

13 United States v. Forrester, 616 F.3d 929 (9th Cir. 2010) .................................................................... 2, 17

14 United States v. Garcia-Cruz, 978 F.2d 537 (9th Cir.1992) .................................................................... 16

15 United States v. Garcia-Villalba, 585 F.3d 1223 (9th Cir. 2009) .............................................................. 2

16 United States v. Homick, 964 F.2d 899 (9th Cir. 1992) ........................................................................... 15

17 United States v. Ippolito, 774 F.2d 1482–86 (9th Cir. 1985) ............................................................... 3, 16

18 United States v. Kiser, 716 F.2d 1268 (9th Cir. 1983) ............................................................................. 15
19 United States v. McGuire, 307 F.3d 1196 (9th Cir. 2002) ............................................................. 2, 15, 17

20 United States v. Perdomo, 800 F.2d 916 (9th Cir. 1986) ......................................................................... 16

21 United States v. Pezzino, 535 F.2d 483 (9th Cir. 1976) (per curiam) ........................................................ 4

22 United States v. Reed, 575 F.3d 900 (9th Cir. 2009) ............................................................................. 2, 3

23 United States v. Rivera, 527 F.3d 891 (9th Cir. 2008) ........................................................................... 1, 2

24 United States v. Shryock, 342 F.3d 948 (9th Cir. 2003) .......................................................................... 12

25 United States v. Spagnuolo, 549 F.2d 705 (9th Cir.1977) ......................................................................... 4

26 United States v. Steffani, 226 F. App’x. 740, 2007 WL 901506 (9th Cir. 2007) (unpublished) ............. 16

27 United States v. Vasquez, 2010 WL 368792 (C.D. Cal. 2010) (unpublished) ......................................... 12

28 United States v. Webster, 734 F.2d 1048 (5th Cir. 1984) .......................................................................... 4

      GOV. OPP. to MTS WIRETAP EVIDENCE                             IV
      U.S. v. Juvencio Cid, CR 20-450 and CR 20-451
                   Case 3:20-cr-00450-EMC Document 119 Filed 09/23/22 Page 3 of 20




 1                                                                    Federal Statutes

 2 18 U.S.C. § 2510 ......................................................................................................................................... 1
   18 U.S.C. § 2511 ......................................................................................................................................... 1
 3
   18 U.S.C. § 2512 ......................................................................................................................................... 1
 4 18 U.S.C. § 2513 ......................................................................................................................................... 1

 5 18 U.S.C. § 2514 ......................................................................................................................................... 1
   18 U.S.C. § 2515 ......................................................................................................................................... 1
 6
   18 U.S.C. § 2516 ......................................................................................................................................... 1
 7
   18 U.S.C. § 2517 ......................................................................................................................................... 1
 8 18 U.S.C. § 2518 .................................................................................................................................... 1, 2

 9 18 U.S.C. § 2519 ......................................................................................................................................... 1
   18 U.S.C. § 2520 ......................................................................................................................................... 1
10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

       GOV. OPP. to MTS WIRETAP EVIDENCE                                    V
       U.S. v. Juvencio Cid, CR 20-450 and CR 20-451
              Case 3:20-cr-00450-EMC Document 119 Filed 09/23/22 Page 4 of 20




 1 I.        INTRODUCTION

 2           The United States hereby opposes Defendant Juvencio Cid’s motion to suppress evidence

 3 derived from wiretap applications three (March 17, 2020) and four (June 4, 2020) on the ground that the

 4 government did not meet the necessity requirement. The Government also opposes Cid’s request for a

 5 Franks hearing, based on the assertion that the government made intentional or reckless, and material,

 6 false statements and omissions about a Source of Information (hereafter “CS”), which if cured, would

 7 have negated necessity for the wiretaps. The government’s wiretap affidavits do not contain intentional

 8 or reckless false statements or omissions that are material to a finding of necessity. Cid fails to make the

 9 substantial showing of intentional or reckless falsity of a statement or omission necessary to warrant a

10 Franks hearing.

11 II.       BACKGROUND

12           From December 2019 through October 2020, the San Jose DEA conducted a series of five

13 wiretaps in furtherance of an investigation into a drug trafficking group involving Defendants Francisco

14 Ricardo Miranda, Gelacio Perez, Juvencio Gamez Cid, as well as other co-conspirators. During the third

15 court-authorized wiretap, San Jose DEA initiated interceptions of telephones used by Francisco

16 Miranda, Gelacio Perez, and another co-conspirator.

17           During the wiretap of a telephone used by Cid, the DEA learned that on or about June 25, 2020,

18 Cid was seeking to purchase approximately 25 pounds of methamphetamine from a supplier then
19 identified as Roberto Villalobos-Buelna (later determined to be Jose Alfredo Villalobos). Agents

20 conducted surveillance of Villalobos and learned that Villalobos, along with his associate Sergio

21 Villalobos-Cisneros traveled to Long Beach, California on June 24, 2020, to pick up approximately 25

22 pounds of methamphetamine for Cid. Based on the surveillance, agents seized 25 pounds of

23 methamphetamine on June 25, 2020, as the methamphetamine was being transported to the Northern

24 District of California.

25 III.      WIRETAPS AND THE “NECESSITY REQUIREMENT”

26           Wiretap authorizations are governed by the Omnibus Crime Control and Safe Streets Act, 18

27 U.S.C. §§ 2510-2520. “To obtain a wiretap, the government must overcome the statutory presumption

28 against this intrusive investigative method by proving necessity.” United States v. Rivera, 527 F.3d 891,

     GOV. OPP. to MTS WIRETAP EVIDENCE               1
     U.S. v. Juvencio Cid, CR 20-450 and CR 20-451
              Case 3:20-cr-00450-EMC Document 119 Filed 09/23/22 Page 5 of 20




 1 897 (9th Cir. 2008), cert. denied, 129 S. Ct. 654 (2008). The “necessity requirement can be satisfied by

 2 a showing in the application that ordinary investigative procedures, employed in good faith, would likely

 3 be ineffective in the particular case.” United States v. McGuire, 307 F.3d 1196 (9th Cir. 2002).

 4           The wiretap should not ordinarily be the initial step in the investigation, but “law enforcement

 5 officials need not exhaust every conceivable alternative before obtaining a wiretap.” United States v.

 6 Forrester, 616 F.3d 929, 944 (9th Cir. 2010). The purpose of these requirements is to ensure that

 7 “wiretapping is not resorted to in situations where traditional investigative techniques would suffice to

 8 expose the crime.” United States v. Garcia-Villalba, 585 F.3d 1223, 1227 (9th Cir. 2009).

 9           A.      The Government’s Right to Pursue An Effective Case

10           “[N]ecessity for the wiretap is evaluated in light of the governments need not merely to collect

11 some evidence, but to develop an effective case against those involved in the conspiracy.” Id. at 1228.

12 An “effective case” means “evidence of guilt beyond a reasonable doubt, not merely evidence sufficient

13 to secure an indictment.” Id. The district court “has considerable discretion in finding necessity,

14 particularly when the case involves the investigation of a conspiracy.” United States v. Reed, 575 F.3d

15 900, 909 (9th Cir. 2009), cert. denied, 130 S.Ct. 1728 (2010). The Ninth Circuit has “consistently upheld

16 findings of necessity where traditional investigative techniques lead only to apprehension and

17 prosecution of the main conspirators, but not to apprehension and prosecution of other satellite

18 conspirators.” Id. at 909-10 (ellipsis omitted). The Ninth Circuit has explained that “[a] wiretap, which
19 targets communications, is well-suited to unmasking the leaders of a narcotics trafficking organization.”

20 United States v. Garcia-Villaba, 585 F.3d 1223, 1230 (9th Cir. 2009).

21           B.      Legal Standard For Evaluating Motions to Suppress Wiretap Evidence

22           The Ninth Circuit has adopted a two-prong approach in its analysis of an adequate showing of

23 necessity:

24                   First, we review de novo whether a wiretap application is supported by a
                     full and complete statement of the facts in compliance with 18 U.S.C.
25                   § 2518(1)(c). If a wiretap is adequately supported, then we review the
                     district court's necessity finding for abuse of discretion.
26

27 Forrester, 616 F.3d at 934 (internal citations omitted).

28           When reviewing whether the district court abused its discretion in approving a wiretap, the Ninth

     GOV. OPP. to MTS WIRETAP EVIDENCE                2
     U.S. v. Juvencio Cid, CR 20-450 and CR 20-451
              Case 3:20-cr-00450-EMC Document 119 Filed 09/23/22 Page 6 of 20




 1 Circuit has used a “common sense approach to evaluate the reasonableness of the governments good

 2 faith efforts to use traditional investigative tactics or its decision to forgo such tactics based on the

 3 unlikelihood of their success or the probable risk of danger involved with their use.” Reed, 575 F.3d at

 4 909. “Merely because a normal investigative technique is theoretically possible, it does not follow that

 5 it is likely. What the [necessity] provision envisions is that the showing be tested in a practical and

 6 commonsense fashion.” Id. at 909.

 7           Where, as here, a wiretap application is alleged to contain misstatements or omissions, the

 8 district court reviews the application and makes a determination of “whether it contains material

 9 misstatements or omissions regarding necessity.” United States v. Blackmon, 273 F.3d 1204, 1207 (9th

10 Cir. 2001) (emphasis added). “If an application contains inaccuracies or significant omissions, the court

11 must determine the facts relying on credible evidence produced at the suppression hearing to determine

12 whether a reasonable issuing judge could have denied the application because necessity for the wiretap

13 had not been shown.” Id. at 1208 (internal punctuation omitted). Where, as here, it is claimed that

14 information not included in the wiretap application would have changed the necessity determination,

15 “[i]t is necessary to evaluate the hypothetical effect of knowledge of the existence of a potentially useful

16 informant on the original district court's determination that a wiretap was necessary. If it would have no

17 effect, then the misstatement would not be material.” United States v. Ippolito, 774 F.2d 1482, 1485–86

18 (9th Cir. 1985).
19 IV.       COURTS DO NOT INVALIDATE A WIRETAP ORDER BECAUSE A DEFENDANT IS
             ABLE TO SUGGEST SOME INVESTIGATE TECHNIQUE THAT COULD HAVE
20           BEEN USED WITH THE BENEFIT OF HINDSIGHT
21           Defendant Cid’s Motion attacks the wiretap affidavits for not seeking specific pieces of process

22 at various points during the investigation. The Motion also counter-intuitively suggests that the Oakland

23 DEA investigation’s inability to ferret out Cid’s drug trafficking cuts against the necessity showing

24 made in the San Jose investigation’s wiretap applications. The Ninth Circuit has found unpersuasive

25 defendants’ arguments “with the benefit of hindsight” about “alternative ways that the DEA could have

26 pursued its investigation.” United States v. Carneiro, 861 F.2d 1171, 1178 (9th Cir. 1988). “The fact

27 that the DEA could have taken different or some additional steps in its investigation does not

28 demonstrate that the district court abused its discretion in upholding the wiretap order.” Id. (citing

     GOV. OPP. to MTS WIRETAP EVIDENCE                 3
     U.S. v. Juvencio Cid, CR 20-450 and CR 20-451
              Case 3:20-cr-00450-EMC Document 119 Filed 09/23/22 Page 7 of 20




 1 United States v. Webster, 734 F.2d 1048, 1055 (5th Cir.1984) (courts will not invalidate a wiretap order

 2 because defense lawyers are able to suggest post factum some investigative technique that might have

 3 been used and was not)). 1

 4           On the contrary, the Ninth Circuit has explained that “[g]overnment investigators, subject to

 5 evaluation by the court on similar bases, are entitled to use reason and common sense in the performance

 6 and documentation of their investigations to support applications for wiretaps.” United States v. Baker,

 7 589 F2d 1008, 1013 (9th Cir. 1979). The wiretap statute “does not mandate the indiscriminate pursuit to

 8 the bitter end of every non-electronic device as to every telephone and principal in question to the point

 9 where the investigation becomes redundant or impractical or the subjects may be alerted . . .” Id.;

10 United States v. Bennett, 219 F.3d 1117, 1122 (9th Cir. 2000) (same).

11 V.        THE INVESTIGATION TIMELINE AND THE CS

12           The CS is referred to as “SOI-1” in Wiretap Affidavits Four and Five. The CS was deactivated

13 by a Mexico DEA office in September 2019 and was not an active confidential source with the DEA

14 during the time the San Jose DEA applied for wiretap three and wiretap four in this investigation. The

15 CS was not re-established as an active confidential source 2 with the DEA until February 2021. 3

16           Much, if not all, of the information that the CS provided to the investigation of this case was

17 either: (1) already known to the DEA, or (2) could not be independently corroborated. Declaration of

18 Kevin Li (“Li Decl.) ¶ 4. The CS was discussed in the necessity section of wiretap affidavits four and
19 five because he/she was a CS with whom DEA San Jose communicated with during the course of the

20 investigation, even though the CS relayed information that DEA already possessed. Id. The CS was not

21 re-established as an active DEA confidential source until February 2021. Id. The CS did not return and

22 remain in the United States until January 2021. Id. n.2.

23
     1
24    See also United States v. Spagnuolo, 549 F.2d 705, 710 (9th Cir.1977) (the necessity requirement does
     not require law enforcement officers to exhaust all possible uses of ordinary investigative techniques);
25   United States v. Pezzino, 535 F.2d 483, 484 (9th Cir. 1976) (per curiam) (the necessity requirement can
     be satisfied even though the police failed to use one type of normal investigative technique), cert.
26   denied, 429 U.S. 839 (1976).
             2
               DEA will not generally use a CS for proactive investigations (such as controlled purchase or
27   other operational activity) when the CS does not have a valid means to legally stay in the United States.
             3
28             The CS did not formally return to the United States until January 2021. The CS stopped
     working with the DEA in 2022.
     GOV. OPP. to MTS WIRETAP EVIDENCE                4
     U.S. v. Juvencio Cid, CR 20-450 and CR 20-451
              Case 3:20-cr-00450-EMC Document 119 Filed 09/23/22 Page 8 of 20




 1           A.       The CS and Investigation of Gelacio Perez

 2           During the third wiretap, agents intercepted telephones used by Francisco Miranda, Gelacio

 3 Perez, and another co-conspirator. Li Decl. ¶ 5. During an intercepted call on March 20, 2020, San Jose

 4 DEA first learned about a second telephone number used by Gelacio Perez. Id. San Jose DEA

 5 conducted an internal DEA database search on this number and learned that the CS had previously

 6 mentioned the same telephone number (ending in -4452) during a debrief in 2018. Id. ¶ 6.

 7           Agents learned that a DEA agent in Los Angeles debriefed the CS at the Los Angeles Airport

 8 (LAX) on August 9, 2018. Li Decl. ¶ 6. During that debrief, the CS told the agent that the user of the

 9 phone number used the alias “El Papo” and was an alleged cartel affiliate responsible for trafficking 50-

10 100 kilograms of methamphetamine to Northern California at a time. Id.

11           On March 22, 2020, San Jose DEA contacted the agent in Los Angeles, and was informed that

12 the CS did not provide any further information about “El Papo.” Li Decl. ¶ 6. Los Angeles agents did

13 not know who “El Papo” was and were unable to corroborate any of the CS’s assertions about “El

14 Papo.” Id.

15           On or about March 23, 2020, San Jose DEA also contacted the San Francisco Field Division’s

16 Confidential Source coordinator about the CS. Li Decl. ¶ 7. Agents learned that the CS had previously

17 been an active informant in Mexico but had been deactivated since September 2019. Id. Agents also

18 contacted the CS’s former handlers and were informed that the CS “was no longer established.” Id. As a
19 result, San Jose DEA at the time did not expend further investigative resources on the “El Papo” lead

20 and diverted its attention towards more actionable leads. Id.

21           B.       San Jose DEA Learns of Cid (aka Alex Torres) in March 2020

22           During the third wiretap period, San Jose DEA also learned of the user of telephone number

23                (referred to as Target Telephone 7 in the affidavits)—Juvencio Gamez Cid (referred to as

24 Alex Jose Torres-Carrero in the affidavits)—who, based on intercepted calls, appeared to be another

25 drug source of supply for Perez. Li Decl. ¶ 8. Internal DEA database checks eventually led to

26 deconfliction with the Oakland DEA investigation into Cid. San Jose DEA learned from Oakland DEA

27 that the almost nine-month-long investigation into Cid had stalled. Id. Oakland DEA was considering

28 pursuing a wiretap of Cid’s telephones. Id.

     GOV. OPP. to MTS WIRETAP EVIDENCE                 5
     U.S. v. Juvencio Cid, CR 20-450 and CR 20-451
              Case 3:20-cr-00450-EMC Document 119 Filed 09/23/22 Page 9 of 20




 1           C.      San Jose DEA Learns New Phone Numbers for the Miranda DTO in April 2020

 2           During the third wiretap period, on April 9, 2020, San Jose DEA conducted an enforcement

 3 action against the Miranda DTO resulting in the arrest of Miranda’s co-conspirator Rojas. Li Decl. ¶ 9.

 4 Miranda and Perez both “dropped” their phones (discontinued use of the wiretapped phones) in the days

 5 and weeks after the enforcement action. Id. A San Jose DEA intelligence analyst conducted

 6 replacement phone analysis and eventually identified replacement phones for Miranda

 7 and Perez                     . 4 Id. San Jose DEA applied for and was granted GPS Ping warrants for these

 8 replacement phones on April 24, 2020. Id.

 9           D.      San Jose DEA Learns the CS is in the United States in April 2020

10           Around April 24, 2020, interest in the “El Papo” lead resurfaced. Li Decl. ¶ 10. A San Jose DEA

11 intelligence analyst told investigators that Perez’s -4452 phone was in communication with a telephone

12 previously suspected to be associated with an individual with high investigative interest. Id. Upon

13 learning the name of the individual, San Jose DEA investigators realized that the individual of high

14 investigative interest was the CS. Id. San Jose DEA then contacted the CS’s former handlers inquiring

15 about the CS’s presence in the United States and the CS’s communications with an active target. Id. ¶11.

16           At that point, San Jose DEA investigators were informed that the CS was present in the country

17 on a Significant Public Benefit Parole (SPBP) sponsored by a Homeland Security Investigations (HSI)

18 agent in Chicago. Li Decl. ¶ 11. San Jose DEA was informed that the CS’s SPBP had terminated and
19 that the CS had overstayed his/her parole as he/she was recovering from COVID-19. Id. San Jose DEA

20 was informed that the CS had been ordered to self-deport to Mexico, and did not have a valid means to

21 legally stay in the country. Id. San Jose DEA was told that the Chicago agent was unable to effectively

22 direct the CS remotely and had elected to discontinue the SPBP. Id.

23           San Jose DEA decided to speak with the CS and evaluate if the CS could be helpful in its

24 investigation. Li Decl. ¶ 12. The CS’s former handler gave San Jose DEA investigators the contact

25 information for the CS. Id. San Jose DEA then arranged an initial debriefing meet with the CS that

26 occurred on May 7, 2020. Id. This was San Jose DEA’s first contact with the CS. Id.

27
             4
28            It appeared that the phone number ending in 4452 was PEREZ’s personal or “clean” phone as
     he continued using it even after dropping his other “dirty” phone. Li Decl. ¶ 4 n.4.
     GOV. OPP. to MTS WIRETAP EVIDENCE                6
     U.S. v. Juvencio Cid, CR 20-450 and CR 20-451
             Case 3:20-cr-00450-EMC Document 119 Filed 09/23/22 Page 10 of 20




 1           E.      San Jose DEA Meets with the CS on May 7, 2020

 2           During the May 7, 2020 meeting, 5 the CS provided San Jose DEA investigators with phone

 3 numbers and names of several different alleged drug traffickers. Li Decl. ¶ 13. The CS provided a

 4 known phone number and license plate for a known vehicle 6 used by “Panchito” (who investigators

 5 surmised to be Francisco Miranda). Id. The CS also provided a known phone number for “Jose Emilio

 6 Colon” (who investigators surmised to be Juvencio Gamez Cid), and also told investigators that a man

 7 named “Alfredo Villalobos-Cisneros,” using phone number                    , was a drug trafficker. Id.

 8 The CS also provided historical information about Miranda and Cid’s drug trafficking activities. Id.

 9           Most of the information that the CS provided simply corroborated information already known to

10 San Jose DEA, or the information could not be independently corroborated or substantiated at the time it

11 was provided. Id. Further, the CS lacked valid immigration status at this time, which raised additional

12 investigative challenges. Id.

13           F.      The CS’s Information about Perez

14           During the May 7, 2020 meeting, the CS was also questioned about the “El Papo” debrief at

15 LAX, and the CS appeared initially reluctant to reveal this information. Li Decl. ¶ 14. The CS was

16 reminded of the debrief in 2018 that occurred at LAX. Id. The CS was told to input the number ending

17 in -4452 into the CS’s telephone, and the CS observed it was saved in the CS’s phone. Id. After further

18 questioning, the CS eventually told San Jose DEA that the CS knew “El Papo” to be “Gelacio.” 7 Id.
19           Agents decided to have the CS substantiate the claimed access to Perez by having the CS call

20 Perez. Li Decl. ¶ 15. The CS called Perez and asked about purchasing cocaine and methamphetamine.

21 Id. During the phone call, Perez told the CS that he did not have any at the moment. Id. Given agents’

22 knowledge of the close ties between Miranda, Perez and Cid, agents did not direct the CS to attempt to

23 call any other of the drug traffickers mentioned in the debrief. Id.

24 \\

25

26           5
            The CS also provided some of this information telephonically in the days following the initial
27 May 7, 2020  meeting.
          6
            San Jose DEA previously installed a tracker on this vehicle in February 2020.
28        7
            The CS had not previously told Los Angeles DEA that “El Papo” was Gelacio.
     GOV. OPP. to MTS WIRETAP EVIDENCE               7
     U.S. v. Juvencio Cid, CR 20-450 and CR 20-451
             Case 3:20-cr-00450-EMC Document 119 Filed 09/23/22 Page 11 of 20




 1           G.      The CS’s Information about Cid

 2           The CS also provided information about a drug trafficker named “Chupon,” (who San Jose DEA

 3 investigators surmised to be Cid based on the phone number) who was using the alias “Jose Emilio

 4 Colon.” Li Decl. ¶ 16. During a prior debrief in 2019 in Mexico, the CS had provided the name, Jesus

 5 Emilio Colon Martinez rather than “Jose Emilio Colon” and had said that Jesus Emilio Colon Martinez

 6 was a large-scale methamphetamine trafficker in San Jose, California. Id. San Jose DEA investigators

 7 were already aware that Cid was operating out of Newark, California. Id. The CS also provided an

 8 already-known phone number for Cid (the number ending in -6215), and stated generally that Cid was a

 9 large-scale drug trafficker. Id. ¶ 17.

10           The CS did not provide any information about Cid’s drug suppliers or specifics on Cid’s drug

11 trafficking operation. Id. ¶ 17. The CS told agents about an instance in 2008 during which Cid was

12 robbed of several hundred kilograms of methamphetamine. Id. Agents, however, were unable to

13 substantiate this claim and found this information generally unhelpful towards achieving the goals of this

14 investigation. Id.

15           H.      The CS’s Information about “Lobo” and the Investigation into Villalobos

16           The CS also provided information about a large-scale drug trafficker named “Alfredo Villalobos-

17 Cisneros” who used the alias “Lobo.” Li Decl. ¶ 18. The CS stated that “Lobo” used the phone number

18 408-380-9974. Id. However, the CS did not provide any information that “Lobo” and Cid worked
19 together, nor did the CS indicate to agents that “Lobo” was a drug source of supply to Cid. Id.

20           San Jose DEA had in 2018, intercepted the number ending in -9974 during the course of a Santa

21 Clara County state wiretap. 8 Li Decl. ¶ 19. San Jose DEA knew the male user of the phone number

22 ending in -9974 was a drug trafficker in 2018. Id. The user of the phone in 2018, however, was

23 unidentified and referred to as the unidentified male using the number ending in 9974, “UM9974”. 9 Id.

24

25
            8
              The previous interception of this number was discussed in both application four and application
26 five in the prior interceptions sections of the affidavits.
            9
27            The intercepted calls from 2018 were also generally unhelpful at the time given the staleness of
   the information. San Jose DEA investigators did not know who was using the phone ending in 9974 in
28 2020. San Jose DEA investigators did not have a voice for Villalobos to compare with the 2018 calls
   until after Villalobos’s initial contact with law enforcement on June 25, 2020.
     GOV. OPP. to MTS WIRETAP EVIDENCE               8
     U.S. v. Juvencio Cid, CR 20-450 and CR 20-451
             Case 3:20-cr-00450-EMC Document 119 Filed 09/23/22 Page 12 of 20




 1           The information the CS provided about “Lobo” was generally unhelpful in the investigation. Li

 2 Decl. ¶ 20. Agents were unable to find an individual by the name of “Alfredo Villalobos Cisneros”, and

 3 were unable to find any driver’s license photographs matching that name to show to the CS. Id.

 4 Subscriber records for the number ending in 9974 indicated the phone was subscribed in the name of

 5 “Roberto Villalobos” and did not match the name “Alfredo”. Id.

 6           During the fourth wiretap, on June 25, 2020, and independent of information the CS provided,

 7 San Jose DEA eventually learned that Cid was seeking a shipment of 25 pounds of methamphetamine

 8 from the Unidentified Male user of the telephone number 408-701-8687 10 (“UM8687”). Li Decl. ¶ 21.

 9 Agents eventually located UM8687 in Southern California and observed UM8687 and his brother (later

10 identified as Sergio Villalobos-Cisneros) retrieve a shipment of methamphetamine while in Southern

11 California. Id. San Jose DEA had California Highway Patrol (CHP) initiate a traffic stop on UM8687’s

12 vehicle as he was departing Los Angeles. Id. Following the stop, San Jose DEA learned that UM8687

13 had provided the name “Roberto Villalobos-Buelna” to CHP officers, and provided the phone number

14 408-380-9974. Id. San Jose DEA later sought an arrest warrant for Villalobos under the name “Roberto

15 Villalobos-Buelna.” Id. San Jose DEA did not learn Villalobos’s true name was “Jose Alfredo

16 Villalobos-Cisneros” until he was arrested in November 2020 and San Jose DEA received an Integrated

17 Automated Fingerprint Identification System (IAFIS) match to his submitted ten-finger print card. Id.

18           I.      CS Leaves the U.S. After the May 26, 2020 meeting with San Jose DEA

19           San Jose DEA met with the CS again on May 26, 2020. Li Decl. ¶ 22. The CS provided agents

20 with a phone number for a possible source of supply for Perez. Id. Agents, however, were unable to

21 corroborate this information based on toll records for Perez’s known telephones. Id. In the days

22 following the meeting, the CS was ordered to self-deport to Mexico by his former handlers. Id. San

23 Jose DEA began the process to sponsor a second SPBP for the CS in hopes of paroling the CS back into

24 the United States for proactive use. 11 Id.

25 \\

26
           10
              The CS also did not provide information about Villalobos’s “dirty” phone (ending in 8687),
27 and appeared to only know Villalobos’s “clean” or personal phone number.
           11
28            San Jose DEA sought a SPBP based on the CS’s potential usefulness for not only this
   investigation but other unrelated investigations.
     GOV. OPP. to MTS WIRETAP EVIDENCE               9
     U.S. v. Juvencio Cid, CR 20-450 and CR 20-451
             Case 3:20-cr-00450-EMC Document 119 Filed 09/23/22 Page 13 of 20




 1           J.      Cid Reaches Out to the CS

 2           The CS and one of Cid’s predecessor phones had exchanged a few text messages in 2019 based

 3 on toll records for Cid’s predecessor phones. 12 Li Decl. ¶ 23. On June 10, 2020, during the fourth

 4 wiretap period, San Jose DEA intercepted a text message from Cid to a phone suspected to be used by

 5 the CS’s paramour. Id. ¶ 24. Cid asked if the user of the telephone had any friends that could provide

 6 Cid with “work,” a term San Jose investigators knew to be slang for drugs. Id. No response was

 7 intercepted. Id. The CS did not report any contact to San Jose investigators. Id. Agents did not believe it

 8 prudent to ask the CS if the CS had received contact from Cid because it would alert the CS that a

 9 wiretap was underway. Id. The CS began using a Mexican phone number after the CS left for Mexico,

10 and agents did not know who was using the phone that Cid contacted on June 10, 2020. Id.

11           K.      Cid Drops Target Telephone 7, and San Jose DEA Learns Cid’s New Number

12           During the course of the fourth wiretap, San Jose DEA conducted a series of enforcement

13 operations on Cid’s drug sources of supply leading to seizures of significant quantities of

14 methamphetamine and arrests of some of the sources of supply. Li Decl. ¶ 25. On July 1, 2020, agents

15 intercepted a call between Perez and Cid during which Cid told Perez he would be calling from a new

16 phone number. Id. San Jose DEA later intercepted a call between Perez and Cid, who was using the new

17 phone number                      (Target Telephone 10 in wiretap application five). Id. Cid complained to

18 Perez during this call about losing money to his suppliers after one of his suppliers got arrested. Id.
19           L.      The CS’s Access to Cid is Verified

20           On or about July 26, 2020, the CS contacted DEA San Jose agents and told them that “Chupon”

21 (Cid) had contacted the CS using a new phone number—(                       . Li Decl. ¶ 26. The CS

22 reported that Cid had asked the CS if the CS was able to help supply Cid with drugs. Id. Agents were

23 aware however, that the CS’s particular access to Cid would only be suitable for conducting a “reverse,”

24 wherein law enforcement agrees to furnish drugs to the target in exchange for money. Id. This type of

25 operation would be of limited use, and would not help accomplish the investigation’s goals of targeting

26 Cid’s drug suppliers. Id. Moreover, a “reverse” type operation would necessitate that investigators make

27
             12
28            Cid’s known phones and the CS’s known phones did not appear to have any sort of regular
     telephonic contact.
     GOV. OPP. to MTS WIRETAP EVIDENCE                10
     U.S. v. Juvencio Cid, CR 20-450 and CR 20-451
             Case 3:20-cr-00450-EMC Document 119 Filed 09/23/22 Page 14 of 20




 1 an arrest of the target shortly after the exchange, to prevent the further distribution of the furnished

 2 drugs. Id.

 3           M.      The CS’s SPBP is Granted but the CS Chooses to Stay in Mexico

 4           On August 25, 2020, the CS was paroled into the United States at the San Ysidro border. San

 5 Jose DEA agents traveled to the border to meet with the CS with the intention of completing official

 6 paperwork to activate the CS for proactive use. Li Decl. ¶ 27. The CS, however, informed them that the

 7 CS’s personal situation had changed and the CS no longer wished to come to the United States; the CS

 8 returned to Mexico that same day. Id.

 9           In the months that followed, investigators attempted to have the CS conduct a telephonic

10 introduction of an undercover to Cid. Id. The CS did not comply with the request and an undercover

11 was unable to make contact with Cid. Id. The CS requested to return to the United States in January

12 2021 after the CS’s personal situation once again changed. Id. The CS became an active DEA informant

13 in February 2021 following the CS’s return to the United States. Id. The CS stopped working for the

14 DEA in 2022.

15 VI.       ARGUMENT ABOUT THE CS AND NECESSITY

16           Defendant’s Motion suggests that the CS was a dependable and established cooperator who the

17 case agents could have used proactively to investigate their targets instead of using a wiretap. See Mot.

18 at 39. In reality, the CS was a fickle, on-again-off-again source of information (SOI) who was unwilling
19 to engage in proactive operations.

20           Defendant’s argument that the investigation’s objectives could have been achieved with the CS

21 is misplaced. “The Ninth Circuit . . . has time and again held that the mere availability of a confidential

22 informant does not demonstrate the absence of necessity for a wiretap, even where that informant has

23 already provided information to investigators.” United States v. Vasquez, 2010 WL 368792 (C.D. Cal.

24 2010) (unpublished); see also United States v. Shryock, 342 F.3d 948, 976 (9th Cir. 2003) (several

25 informants could not possibly reveal the full nature and extent of the enterprise and “its countless, and at

26 times disjointed, criminal tentacles”), cert. denied, 541 U.S. 965 (2004); United States v. Fernandez, 388

27 F.3d 1199, 1236 (9th Cir. 2004) (same), cert. denied, 544 U.S. 1009 (2005).

28 \\

     GOV. OPP. to MTS WIRETAP EVIDENCE                11
     U.S. v. Juvencio Cid, CR 20-450 and CR 20-451
             Case 3:20-cr-00450-EMC Document 119 Filed 09/23/22 Page 15 of 20




 1           On March 16, 2020, at the time of Wiretap Application Three, the case agents had not spoken

 2 with the CS and were unaware the CS was in the United States. When the case agents learned the CS

 3 was in the U.S. in April 2020 and met with the CS about their investigation on May 7, 2020, they

 4 realized the CS has not been entirely forthcoming with Los Angeles DEA agents at the LAX debrief.

 5 Agents also knew that Homeland Security Investigations (HSI) had tried to work with the CS—and even

 6 paroled the CS into the United States—only to find the CS uncooperative so that HSI discontinued the

 7 relationship. On May 7, 2020, when the case agents met with the CS, the CS had already been ordered to

 8 return to Mexico and had significant public benefit parole discontinued.

 9           During the May 7, 2020 meeting with the CS, agents questioned the CS about the LAX debrief

10 and the CS admitted that the CS knew the person the CS identified at LAX as “El Papo” to be Gelacio

11 Perez. The CS had Perez’s phone number in the CS’s phone. During the meeting, agents also had the

12 CS call Perez and ask about purchasing cocaine and methamphetamine. With the agents listening in,

13 Perez told the CS that he did not have any. Given the close relationships between Miranda, Perez, and

14 Cid, agents decided not to have the CS attempt to call any of the other drug traffickers.

15           The CS’s position was also such that having the CS attempt to buy cocaine or methamphetamine

16 from the targets was not ideal. Agents knew that it would be more credible for the CS to offer to supply

17 cocaine or methamphetamine to their investigative targets in what is called a “reverse.” See Li Decl.

18 ¶ 26. However, supplying drugs to the targets would have brought the investigation to a premature end.
19 Arrests would need to be made soon after a transaction because the DEA may not introduce dangerous

20 drugs into the community. Id.

21           Agents met with the CS again on May 26, 2020. At that meeting, the CS provided them with a

22 phone number for a possible source of supply of Perez. However, the agents were unable to corroborate

23 this tip based on toll records from Perez’s telephones. In the days after the meeting, the CS was ordered

24 to return to Mexico by his former HSI handlers.

25           On June 4, 2020, Wiretap Application Four stated that “agents had learned of an SOI that have

26 previously provided information to the DEA in 2018 . . . in the hopes of receiving immigration benefits

27 and or financial compensation.” Appendix 4B at 77-78. The affidavit further stated that the “SOI was

28 recently debriefed by agents in the United States, and reported that the SOI had access to Perez and

     GOV. OPP. to MTS WIRETAP EVIDENCE               12
     U.S. v. Juvencio Cid, CR 20-450 and CR 20-451
             Case 3:20-cr-00450-EMC Document 119 Filed 09/23/22 Page 16 of 20




 1 personally interacted with Perez.” Id. at 78. Nonetheless, the affidavit explained that agents were unable

 2 to “use this SOI proactively to target Perez because of the SOI’s immigration status” and that the SOI

 3 was “pending deportation and agents are unable to proactively use him with in the United States.” Id.

 4           On June 10, 2020, while the fourth wiretap was underway, San Jose DEA intercepted a text

 5 message from Cid to a phone suspected to be used by the CS’s paramour. Cid asked if the user of the

 6 phone could provide Cid with “work,” which agents knew to be slang for drugs. No response was

 7 intercepted, and the CS did not report any contact with Cid to San Jose agents. The case agents decided

 8 it would not be prudent to ask the CS about contact with Cid because it could alert the CS that a wiretap

 9 was underway. The CS had begun using a Mexican phone number once the CS returned to Mexico, and

10 the agents did not know who was using the phone that Cid texted on June 10, 2020.

11           During the Fourth Wiretap, agents conducted a series of enforcement actions on Cid’s drug

12 source of supply leading to seizures of significant quantities of methamphetamine and the arrests of

13 some of Cid’s sources of supply. In July 2020, San Jose DEA intercepted a call between Cid and

14 Gelacio Perez in which Cid explained he would be calling from a new number: Target Telephone 10

15 (510-767-5008) in Wiretap Application Five. San Jose DEA later intercepted a call between Cid and

16 Perez on that new number. In the call, Cid complained to Perez about losing money after one of his

17 suppliers was arrested.

18           On or about July 26, 2020, the CS contacted DEA San Jose agents and told them that “Chupon”

19 (Cid) had contacted the CS using the new phone number. Cid had asked the CS to supply him with

20 drugs. Agents knew that given the request and the CS’s position, the CS would only be able to conduct

21 a “reverse” wherein the DEA would provide drugs to a target for money. Such a reverse operation

22 would not help accomplish the investigation’s goals of identifying Cid’s drug suppliers and would

23 prematurely end the investigation by requiring Cid’s arrest shortly after the exchange to prevent the

24 further distribution of drugs. Accordingly, investigators did not pursue that course.

25           On September 21, 2022, Wiretap Application Five stated:

26           In July 2020, the SOI also revealed to agents that he had current access to Torres (Cid). It
             was not until July 2020 that the agents realized that the SOI could still contact with
27           Torres. While the SOI has demonstrated access to Torres, it does not appear that the SOI
             has any further information about other sources of supply that Torres may use,
28
             specifically “Piolin” or Popeye. Based on the previous wiretap of the Torres telephone,
     GOV. OPP. to MTS WIRETAP EVIDENCE                13
     U.S. v. Juvencio Cid, CR 20-450 and CR 20-451
             Case 3:20-cr-00450-EMC Document 119 Filed 09/23/22 Page 17 of 20




 1           agents are aware that Torres appears to be an independent drug trafficker with several
             separate drug sources of supply, each with their own distribution and supply lines. The
 2           SOI has not provided information indicating the SOI is aware of other sources of supply
             used by Torres. Even if the SOI was currently willing to participate in undercover
 3
             operations – which [SOI] is not – and assuming the agents could use the SOI to introduce
 4           an undercover agent to Torres, I do not believe the undercover agent would be able to
             achieve all the goals of the investigation without the use of interceptions. Much of the
 5           investigation into other supply lines used by Torres has stemmed from the use of
             interceptions, and it appears that each of Torres’s supply lines are compartmentalized and
 6           are unaware of each other’s existence.
 7 Appendix 5 at 40-41 (¶¶ 124-25).

 8           Defendant contends that the affidavit provided only general statements about why traditional

 9 investigative techniques would be insufficient (see Mot. at 44); however, the detailed explanation of

10 why the CS could not have achieved the investigation’s goals in Wiretap Application Five was more

11 than adequate in explaining that even if the SOI had been willing to engage in proactive undercover

12 operations – which the SOI was unwilling to do – those operations were unlikely to have met the

13 investigation’s goals of identifying Cid’s multiple sources of drug supply. The fact that Cid was asking

14 the CS to supply Cid with drugs was a clear indication to agents that the CS would not be able to

15 achieve the investigation’s goals of rooting out the drug organization by identifying Cid’s other

16 suppliers. See United States v. Bennett, 219 F.3d 1117, 1121 n.3 (9th Cir. 2000) (“We have consistently

17 upheld similar wiretap applications seeking to discover major buyers, suppliers, and conspiracy

18 members.”); id. at 1122 ([T]he mere attainment of some degree of success during law enforcement's use
19 of traditional investigative methods does not alone serve to extinguish the need for a wiretap.”); United

20 States v. McGuire, 307 F.3d 1192, 1198 (9th Cir. 2002) (we have consistently upheld findings of

21 necessity where traditional investigative techniques lead only to apprehension and prosecution of the

22 main conspirators, but not to the apprehension and prosecution of . . . other satellite conspirators.”)

23 (internal quotation marks omitted).

24            In addition to being reluctant to second-guess the decisions of law enforcement on the conduct

25 of criminal investigations, the Ninth Circuit has “stressed repeatedly that informants as a class, although

26 indispensable to law enforcement, are oftentimes untrustworthy.” United States v. Canales Gomez, 358

27 F.3d 1221, 1226–27 (9th Cir. 2004). “Wiretap evidence . . . compared to the word of an informant either

28 in the field or in court, is the gold standard when it comes to trustworthy evidence.” Id. at 1227. “The

     GOV. OPP. to MTS WIRETAP EVIDENCE               14
     U.S. v. Juvencio Cid, CR 20-450 and CR 20-451
             Case 3:20-cr-00450-EMC Document 119 Filed 09/23/22 Page 18 of 20




 1 truth-seeking function of [the] courts is greatly enhanced when the evidence used is not tainted by its

 2 immediate informant source and has been cleansed of the baggage that always comes with them.” Id.

 3 VII.      THE REQUEST FOR A FRANKS HEARING

 4           In Franks v. Delaware, 438 U.S. 154 (1978), the Supreme Court held that a search warrant is

 5 void where the defendant can show that (1) the affidavit supporting the warrant contains statements

 6 which are intentionally false, or which were made with reckless disregard for the truth; and (2) without

 7 the false statements, the affidavit lacks probable cause for issuance of the warrant. The Franks standard

 8 applies to Title III applications and orders. United States v. Homick, 964 F.2d 899, 904 (9th Cir. 1992).

 9           Because affidavits are presumed valid, a defendant is entitled to a hearing on his allegations of

10 falsity only upon “a substantial preliminary showing” that the statements in the affidavit meet the

11 Franks standard. Franks, 438 U.S. at 155-56. Given the assumption of validity underlying a supporting

12 affidavit, a party moving for a Franks hearing must submit “allegations of deliberate falsehood or of

13 reckless disregard for the truth, and those allegations must be accompanied by an offer of proof.” Id. at

14 171. Furthermore, the movant must show that any omitted information is material. United States v.

15 Kiser, 716 F.2d 1268, 1271 (9th Cir. 1983). The Ninth Circuit has established the following criteria to

16 support a successful request for a Franks hearing:

17           the defendant must allege specifically which portions of the warrant affidavit are claimed
             to be false [or which facts were omitted]; (2) the defendant must contend that the false
18           statements or omissions were deliberately or recklessly made; (3) a detailed offer of
             proof, including affidavits, must accompany the allegations; (4) the veracity of only the
19
             affiant must be challenged; [and] (5) the challenged statements must be necessary to find
20           probable cause.

21 United States v. Steffani, 226 Fed. App’x. 740, 741, 2007 WL 901506 (9th Cir. 2007) (unpublished),

22 (citing United States v. Perdomo, 800 F.2d 916, 920 (9th Cir. 1986)).

23           The movant bears the burden of proof and must make a substantial showing to support the
24 elements. United States v. Chavez-Miranda, 306 F.3d 973 (9th Cir. 2002) (upholding district court’s

25 refusal to grant an evidentiary hearing where movant failed to establish false statements by a

26 preponderance of the evidence); United States v. Garcia-Cruz, 978 F.2d 537, 540 (9th Cir. 1992)

27 (upholding district court’s refusal to grant an evidentiary hearing where defendant did not establish that

28 misstatements were intentional or reckless).

     GOV. OPP. to MTS WIRETAP EVIDENCE                15
     U.S. v. Juvencio Cid, CR 20-450 and CR 20-451
             Case 3:20-cr-00450-EMC Document 119 Filed 09/23/22 Page 19 of 20




 1           The Motion here fails to make the substantial preliminary showing that statements or omissions

 2 were intentionally false or made with reckless disregard for the truth. The Motion also fails to make the

 3 required showing that any omitted information is material in the sense that its inclusion could have led a

 4 reasonable district court judge to have denied the application on grounds that necessity had not been

 5 shown. See United States v. Ippolito, 774 F.2d at 1486 (“If it would have had no effect, then the

 6 misstatement would not be material.”). The Motion recognizes it does not meet these standards when it

 7 argues that a Franks hearing is needed “to determine if the government knowingly or recklessly

 8 submitted false statements and omitted true ones.” Mot. at 35 (emphasis added).

 9 The Motion’s key Franks claim is that the “Wiretap 4 Affidavit minimized the importance of [the CS] and

10 gave the false or misleading assertion that his usefulness was limited because he was going to be

11 deported.” Mot. at 35. With the benefit of hindsight, this claim is essentially an attempt by the defense to

12 second guess the case agents’ decisions on the conduct of the investigation. The argument is based on

13 conjecture about what the defense believes the CS could have done for the investigation. But the

14 government “need not exhaust every conceivable alternative before obtaining a wiretap.” United States

15 v. Forrester, 616 F.3d 929, 944 (9th Cir. 2010). The CS would not have been able to achieve the goals of

16 the investigation, and the CS had been ordered to return to Mexico at the time the Wiretap Four

17 Application was submitted. In addition, agents had been unable to confirm the information the CS

18 provided at their meeting on May 26, 2020. Whatever additional information agents could have provided
19 at that point—and there was doubt about what information from the CS was reliable—would not have had

20 a material impact on the necessity determination. See Canales Gomez, 358 F.3d at 1226 (“The government

21 need not show that informants would be useless in order to secure a court-authorized wiretap.”); United

22 States v. McGuire, 307 F.3d 1192, 1197 (9th Cir.2002) (holding that the government had established

23 necessity for wiretaps despite its use of three cooperating witnesses because “those witnesses were able

24 to give agents only limited information, not including the names of all members of the conspiracy”).

25 VIII. CONCLUSION

26           Based on the foregoing, the defendant=s motion to suppress wiretap evidence and for a Franks

27 hearing should be denied.

28 \\

     GOV. OPP. to MTS WIRETAP EVIDENCE               16
     U.S. v. Juvencio Cid, CR 20-450 and CR 20-451
             Case 3:20-cr-00450-EMC Document 119 Filed 09/23/22 Page 20 of 20




 1 DATED: September 23, 2022                              Respectfully submitted,

 2                                                        STEPHANIE M. HINDS
                                                          United States Attorney
 3

 4
                                                          _/s/ Daniel Pastor____________
 5                                                        DANIEL PASTOR
                                                          Assistant United States Attorney
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

     GOV. OPP. to MTS WIRETAP EVIDENCE               17
     U.S. v. Juvencio Cid, CR 20-450 and CR 20-451
